                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )      NO. 3:11-00194
                                                  )      JUDGE CAMPBELL
STERLING RIVERS                                   )

                                          ORDER

       Due to a criminal trial, the hearing scheduled for February 8, 2013, is RESCHEDULED for

March 13, 2013, at 9:00 a.m.

       All previously set deadlines remain unchanged.

       It is so ORDERED.

                                                  ____________________________________
                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




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